Case 2:04-cr-20476-SH|\/| Document 107 Filed 06/30/05 Page 1 of 2 n Page|D 302

men HYM_._ n.-c.
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTE
wESRJ-LR‘LI§T§§T=°°§ TE“NESSEE 05 JuN 30 Pn 3= he

 

RDW$MIDUB
) W rl.¢;;l.:li t;v~
UNITED sTATEs oF AMERICA ) D(Y w KMHE
Plaintiff, ,
)
VS‘ ) cR. No. 04-20476-n
)
DAVID TATE )
Defendant. )
)

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came on to be heard on June 21, 2005, the United States
Attorney for this district, Thomas A. Colthurst, appearing for the
Government and the defendant, David Tate, appearing in person and with
counsel, Stephen R. Leffler, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Counts 1-5, 7-9, and
ll of the Indictment.

Counts 6 and 10 and Indictment 04~20492-Ma shall be dismissed at
the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, AUGUST 23, 2005, at
1200 P.M., before Judge Bernice B. Donald.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this thagzl_ day of June, 2005.

   

 

 
 

rca B. noNALd”'
ITED sTATEs DISTRICT cooke

Thle document entered on the docket sheet in compllance /
with Ftu|e 55 endlor 32(b) FRCrP on 7 ' "

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 107 in
case 2:04-CR-20476 Was distributed by faX, mail, or direct printing on
July 1, 2005 to the parties listed.

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Stephen R. Left]er
LEFFLER LAW OFFICE
707 Adams Ave.
1\/1emphis7 TN 38105

.1 oseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

